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                           UNITED STATES DISTRICT COURT
                            MIDDLE DISTRICT OF FLORIDA
                                FORT MYERS DIVISION

 UNITED STATES OF AMERICA

 VS.                                                   CASE NO: 2:15-cr-101-FtM-38CM

 DIOSME FERNANDEZ HANO and
 REINALDO ARRASTIA-CARDOSO


                                 OPINION AND ORDER1

        This matter comes before the Court upon review of Defendant Diosme Fernandez

 Hano’s Motions in Limine (Doc. 179) filed on October 10, 2017. The Government filed its

 Response in Opposition on October 13, 2017. (Doc. 185). The Court held a final pretrial

 conference on October 19, 2017. The trial commenced October 23, 2017. For the

 reasons stated on the record, as well as those stated herein, the Court rules on the

 motions in limine as follows:

                                     BACKGROUND

        This case centers on the robbery of a Brink’s Armored Vehicle on November 30,

 2009, where multiple individuals absconded with over $1,700,000.00, leaving behind

 multiple pieces of DNA-based evidence. (Docs. 3 at ¶¶ 8-9; 179 at 11; 185 at 5). One of

 the Defendants, Hano, then departed the United States for Cuba via a private boat on or



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 about January 13, 2010. (Doc. 185 at 6). In April 2014, Hano attempted to re-enter the

 United States from Mexico through the Gateway to the Americas Bridge in Laredo, Texas.

 (Doc. 185 at 6). In the process, he submitted a sworn statement detailing the means and

 manner of his travel between the United States, Cuba, and Mexico. (Doc. 185 at 6).

 Subsequently, Hano and Co-Defendant Reinaldo Arrastia-Cardoso were indicted. (Doc.

 49).

 A.     HANO’S FIRST MOTION IN LIMINE

        Hano initially moves the Court to preclude the Government from introducing

 testimony from the Government’s expected witness, Ruben Borrego-Izquierdo, about

 Hano’s purported spending in Cuba because (1) it is hearsay and (2) its probative value

 is substantially outweighed by the danger of unfair prejudice under Federal Rule of

 Evidence 403. This testimony can be broken into two distinct categories. The first

 category consists of statements made by Hano to Borrego-Izquierdo, wherein Hano

 discussed his activities in Cuba and allegedly incriminated himself in the robbery in this

 case. The second category consists of Borrego-Izquierdo’s recollection of statements

 made by Hano’s relatives and various people in Cuba that Hano came to Cuba with a

 great deal of money in 2010, and that he spent lavishly on the island.

        Hano argues that the Government should be precluded from introducing both

 categories of statements because they are hearsay. In response, the Government argues

 that the statements Hano made to Borrego-Izquierdo are not hearsay because they are

 statements of a party opponent. The Government also argues that Borrego-Izquierdo’s

 statements recounting what he had heard from Hano’s relatives and individuals in Cuba

 should be admissible because they will not be introduced for the truth of the matter




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 asserted, but rather that the statements will be introduced to add context to the

 conversation between Borrego-Izquierdo and Hano, and to show the effect on Hano when

 Borrego-Izquierdo told him what he had heard about Hano’s spending habits and inquired

 about where he had received the money to finance the same. (Doc. 185 at 2-3).

       Hearsay is an out of court statement offered to prove the truth of the matter

 asserted. FED. R. EVID. 801(c)(1)-(2). A statement is an oral or written assertion, or

 nonverbal conduct if the actor intended it as an assertion. FED. R. EVID. 801(a). Hearsay

 within hearsay, or double hearsay, exists when there is a hearsay statement that contains

 another hearsay statement within it. See Zaben v. Air Products & Chemicals, Inc., 129

 F.3d 1453, 1456 (11th Cir. 1997). Double hearsay “is admissible only if each part of the

 combined statements conforms with an exception to the hearsay rule.” United States v.

 Robinson, 239 F. App’x 507, 508 (11th Cir. 2007). Notably, statements made by a party

 and subsequently offered against that party are not hearsay. FED. R. EVID. 801(d)(2). By

 the same token, “an out-of-court statement admitted to show its effect on the hearer is

 not hearsay.” United States v. Rivera, 780 F.3d 1084, 1092 (11th Cir. 2015). This is true

 because it is offered as a basis for inferring something other than the matter asserted.

 See United States v. Cruz, 805 F.2d 1464, 1478 (11th Cir. 1986); see also United States

 v. Manati, 2017 WL 2570005, No. 14-15294, at *3 (11th Cir. June 14, 2017) (finding that

 a statement is not hearsay when it was offered not to prove the truth of the matter

 asserted, but instead to explain a subsequent course of conduct).

       Turning back to the matter at hand, Hano’s comments to Borrego-Izquierdo

 constitute statements of a party opponent and are admissible as non-hearsay. That said,




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 the admissibility of the statements that Borrego-Izquierdo made regarding what he heard

 from Hano’s relatives or “a lot of people” in Cuba is hearsay and inadmissible.

        Next, Hano argues that the testimony about his purported spending in Cuba would

 foment class prejudice within the jury, and thus should be excluded under Federal Rule

 of Evidence 403. The Government counters that the evidence it intends to offer will be

 highly probative and is admissible to prove a sudden acquisition and use of wealth

 following an alleged robbery, even if the source of that wealth has not yet been verified.

 See United States v. White, 589 F.2d 1283, 1286 n. 7 (5th Cir. 1979).2 The Court agrees.

        The Eleventh Circuit has held that “a court's determination of whether wealth

 evidence is relevant under Rule 401, Fed. R. Evid., and whether the evidence's probative

 value is substantially outweighed by its unfair prejudice under Rule 403, Fed. R. Evid.,

 must turn on the specific facts of the case.” United States v. Hope, 608 F. App'x 831, 838

 (11th Cir. 2015). Pursuant to Rule 401, evidence is relevant if it has any tendency to

 make a fact more or less probable than it would be without the evidence and the fact is

 of consequence in determining the action. FED. R. EVID. 401(a)-(b). Pursuant to Rule

 403, “[t]he court may exclude relevant evidence if its probative value is substantially

 outweighed by a danger of . . . unfair prejudice . . . .” FED. R. EVID. 403.

        Here, the robbery occurred on November 30, 2009, and Hano allegedly fled to

 Cuba on or about January 13, 2010 on a private boat. Given that the testimony will

 allegedly touch on Hano’s purported spending in Cuba, which occurred subsequent to

 and in close temporal proximity to the robbery, such evidence will have a decided



 2The Eleventh Circuit has adopted, as binding precedent, all Fifth Circuit decisions
 made prior to the close of business on Sept. 30, 1981. Bonner v. City of Prichard, 661
 F.2d 1206, 1209 (11th Cir. 1981) (en banc).



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 tendency to make his participation in the robbery more likely, and will be of consequence

 in this action. Similarly, it is plain that the probative nature of this information outweighs

 any threat of unfair prejudice. As such, the Court will allow statements made by Hano to

 Borrego-Izquierdo.

 B.    HANO’S SECOND MOTION IN LIMINE

        Hano moves to preclude the Government from introducing testimony regarding his

 character and criminal history on the grounds that it is both hearsay and improper

 character evidence based on alleged prior bad acts. But the Government states that it

 does not intend to introduce any such evidence unless Hano were to take the stand and

 put his character in issue. Because Hano’s argument depends on events that have not

 yet occurred, the request is denied as moot.

 C.    HANO’S THIRD MOTION IN LIMINE

        Next, the Government intends to include various documents from Hano’s

 immigration file at trial, including a sworn statement, biographical immigration documents,

 and a document entitled “Cuban Intelligence Survey.” Hano moves to preclude any

 references to same, arguing that any statements that he allegedly made to Customs and

 Border Protection (“CBP”) Officers regarding his immigration or travel history are

 inadmissible because: (1) they are hearsay; (2) because the records would violate the

 “best evidence rule” pursuant to Federal Rule of Evidence 1002; (3) because the history

 would be unfairly prejudicial and confusing under Federal Rule of Evidence 403; and (4)

 because of the potential that his immigration history could be considered a bad act that

 should be excluded under Federal Rule of Evidence 404(b). The Government disagrees




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 with Hano, contending that evidence of Hano’s immigration history is not hearsay, is

 highly probative, and that neither the best evidence rule nor Rule 404(b) apply here.

        As a threshold matter, Hano’s hearsay objection does not withstand scrutiny. The

 Eleventh Circuit has held that routinely and mechanically kept immigration records do not

 violate the public records exception to hearsay. United States v. Agustino-Hernandez,

 14 F.3d 42, 43 (11th Cir. 1994). And, pertinently, the public records exception also does

 not exclude police records “prepared in a routine non-adversarial setting.” Id.

        Against this backdrop, because Hano’s immigration history was prepared long

 before Hano was charged with the alleged offense, and was prepared in a routine, non-

 adversarial setting, it is admissible here. Similarly, Hano ineffectively objects to the

 introduction of statements he made to immigration officials. Because the Government is

 offering statements that Hano himself made, they are not hearsay and are admissible as

 statements of a party opponent. See FED. R. EVID. 801(d)(2)(A).

        Next, Hano argues that his immigration history should be precluded from being

 introduced by the Government because of the best evidence rule. In response, the

 Government argues that the introduction of Hano’s immigration file will not violate the best

 evidence rule because the documents they intend to introduce are duplicates, and are

 therefore admissible.

        The best evidence rule requires “[a]n original writing, recording, or photograph” to

 prove the content of a document being offered in to evidence. FED. R. EVID. 1002. That

 said, an exception to this rule is found where a party intends to offer a duplicate, which is

 “a counterpart produced by a mechanical, photographic, chemical, electronic, or other

 equivalent process or technique that accurately reproduces the original.” FED. R. EVID.




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 1001(e); see also FED. R. EVID. 1003. Because Hano does not address the existence,

 authenticity, fairness, or admissibility of the Government’s duplicate of documents from

 his immigration file, the Court finds no merit in his objection that the use of same would

 violate the best evidence rule.

        Next, Hano argues that the Government should be precluded from introducing

 documents from his immigration file because it would be unfairly prejudicial or confusing.

 The Court cannot agree in total. Rule 403 grants federal courts the discretion to exclude

 relevant evidence where the probative value would be substantially outweighed by the

 threat of unfair prejudice or confusion of the issues. FED. R. EVID. 403. As to Hano’s

 sworn statement, there are portions of testimony for which the Court does not see

 immediate relevance. Accordingly, the parties conducted an argument on the record

 wherein the Government agreed to redact various parts of Hano’s sworn statement.

 Among other things, the proffered version of the sworn statement concerns the timing of

 Hano’s departure to Cuba, which was little more than a month after the robbery, as well

 as his description of the means and method of that departure.            This information

 circumstantially relates to the motivation to move between countries in the immediate

 aftermath of a crime, and the potential avenue to transport ill-gotten gains. As such, the

 sworn statement’s probative value is high. Moreover, Hano does not indicate why he

 would incur any unfair prejudice by giving a truthful accounting of his immigration

 activities. Consequently, to the extent than Hano does incur any unfair prejudice as a

 result of the entry of the redacted sworn statement, it is outweighed by probative value.

        In addition, the Government argues that the biographical immigration forms and

 the Cuban Intelligence Survey have probative value in the form of documenting Hano’s




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 and Arrastia-Cardoso’s presence in the United States over a period of time prior to the

 robbery. While the Court recognizes the probative value of such information in the

 biographical immigration forms, it notes that the purpose and sweep of the Cuban

 Intelligence Survey is unclear. For that reason, and because the status of both Hano and

 Arrastia Cardoso is already established by the biographical immigration forms, the Court

 finds that while the biographical immigration forms are admissible, the Cuban Intelligence

 Survey is not.

       Lastly, Hano argues that the Government should be precluded from introducing

 his immigration history because it could be construed as a prior bad act under Federal

 Rule of Evidence 404(b). This is the case, Hano argues, because the imagery associated

 with immigration could be construed negatively and be confusing to the jury. But this

 characterization departs from the rule. Rule 404(b)(1) states that “[e]vidence of a crime,

 wrong, or other act is not admissible to prove a person's character in order to show that

 on a particular occasion the person acted in accordance with the character.” FED. R. EVID.

 404(b)(1). With this in mind, Hano has not alleged that his entry to the United States was

 either wrong or illegal. Nor has he shown how his entry to the United States would

 reasonably relate to his character in the context of the robbery he is accused of

 committing in this case. Consequently, Hano’s request must be denied.

 D.    HANO’S FOURTH MOTION IN LIMINE

       Next, Hano seeks to preclude the Government from introducing a DNA profile,

 created using DNA recovered from the alleged getaway vehicle, from being introduced

 into evidence. The vehicle’s door handle was swabbed by the Florida Department of Law

 Enforcement for DNA, and at least three DNA profiles were detected. (Doc. 179 at 11).




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 The vehicle was thereafter destroyed by the Lee County Sheriff’s Office prior to Hano

 becoming a suspect. (Doc. 185 at 8).

        Hano argues that his rights under the Due Process Clause of the Fifth Amendment

 have been violated because the vehicle has been lost or destroyed by authorities, and he

 has been deprived of the ability to examine same. He also contends that the DNA

 evidence is not reliable and should be excluded because there were three DNA profiles

 found on the vehicle, and because the profile associated with Hano had a match

 frequency of one in twenty people. By contrast, the Government argues that no due

 process violation will occur by virtue of the admission of the DNA evidence.

        On this issue, the Government’s duty to preserve evidence:

               must be limited to evidence that might be expected to play a
               significant role in the suspect’s defense. To meet this
               standard of constitutional materiality . . . evidence must both
               possess an exculpatory value that was apparent before the
               evidence was destroyed, and be of such a nature that the
               defendant would be unable to obtain comparable evidence by
               other reasonably available means.

 California v. Trombetta, 467 U.S. 479, 488-89 (1984) (internal citation omitted).

 Moreover, “unless a criminal defendant can show bad faith on the part of the police, failure

 to preserve potentially useful evidence does not constitute a denial of due process of law.”

 Arizona v. Youngblood, 488 U.S. 51, 58 (1988).

        As the Court mentioned above, the vehicle was destroyed before Hano became a

 formal suspect. Consequently, the Government could not have known the exculpatory

 value of that evidence to Hano before its destruction. Also, Hano has proffered no

 argument or evidence that the Government’s actions were in bad faith. Thus, because




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 the car did not possess an apparent exculpatory value at the time it was destroyed, and

 because Hano has made no showing of bad faith, Hano’s objection will be denied.3

 E.     HANO’S FIFTH MOTION IN LIMINE

         Finally, Hano moves to exclude any evidence of Arrastia-Cardoso’s arrest by

 Immigration and Customs Enforcement at Miami International Airport and any related

 findings. In response, the Government argues that not only does Hano not have standing

 to mount this argument, but also that it does not intend to introduce any such evidence

 unless Arrastia-Cardoso were to testify. Consequently, the request is denied as moot.

         Accordingly, it is now

         ORDERED:

         1. Defendant’s First Motion in Limine is GRANTED in part, and DENIED in part.

         2. Defendant’s Second Motion in Limine is DENIED as moot.

         3. Defendant’s Third Motion in Limine is GRANTED in part, and DENIED in part.

         4. Defendant’s Fourth Motion in Limine is DENIED.

         5. Defendant’s Fifth Motion in Limine is DENIED as moot.

         DONE AND ORDERED at Fort Myers, Florida, this day the 31st of October, 2017.




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 3 This evidence objection is now moot as the Government did not seek to introduce the DNA profile from

 the vehicle door handle.




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